                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:02-CR-182-GCM

                                              )
UNITED STATES OF AMERICA                      )
                                              )
       v                                      )                 ORDER
                                              )
TORRAN LEEHAN PHILLIPS             (2)        )
                                              )


       THIS MATTER IS BEFORE THE COURT upon the Government’s Motion for
Reconsideration of Order Granting Defendant’s Motion for Reduction of Sentence [doc. 184].
For cause shown, this motion is GRANTED.

       The Order dated May 8, 2008 [doc. 183] is hereby RESCINDED. The Government has
until May 12, 2008 to file its response.

       IT IS SO ORDERED.
                                              Signed: May 9, 2008




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